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                  Exhibit 28
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Yale University                                   Office of the Chair
                                                  Department ofSpanish & Portuguese
                                                                                       Camp11s address:
                                                                                       82-90 Wall Street
                                                  P.O. Box 208204                      Telephone: 203 432-1151
                                                  New Haven, Co11nectiwto6520-8204     Fax: 203 432-1178
   February 19, 2008

   Ms. Susan Byrne
   5 West 21 st Street #5
   New York, NY 10010

   Dear Ms. Byrne:

   I write to confirm our telephone conversation. The Department of Spanish and
   Portuguese is recommending your appointment as Assistant Professor of Spanish for a
   term of four years, from July 1, 2008 to June 30, 2012. The recommendation must now
   be approved by the Faculty of Arts and Sciences Executive Committee, whose
   recommendation must then be submitted for approval to the Joint Boards of Permanent
   Officer of the Faculty of Arts and Sciences. Thereafter, the appointment will be
   transmitted by the Provost for final approval by the Fellows of the Yale Corporation, the
   University's governing board. These steps are normally routine.

   Your initial salary, effective July 1, 2008, would be $70,000. Although the salary
   represents compensation for the nine-month academic year, salary payments are divided
   into twelve equal installments, with the first installment to be paid on the last day of the
   initial month of appointment. Yale also offers .a generous package of health, retirement.
   and other benefits, as desc;ibed in the Faculty Handbook n{enti'oned below. --

   Funds of up to $1,200 a year are available for you to attel\cl professional meetings at
   which you are asked to read a paper for chair a session.

   The normal teaching load in our department is two courses per term for a total of four
   courses each year.

   Yale has an extremely generous leave system and you will be eligible for a full year's
   leave at full pay in your 2 nd, 3rd , or 4 th year on the faculty after at least one full year of
   teaching.

   Yale will cover ordinary and reasonable moving expenses for your household and office
   items in accordance with University policy. Before making any moving anangements,
   you should be sure to consult with the University's Transportation Manager, Diane
   Brown, who will help you coordinate and aITange payment for your move. She can be
   reached at diane.brown(@yale.edu or (203) 432-9961. The business adm inistrator in our
   depaiiment will also be available to offer assistance in helping to aITange your move here
   and she can be reached at joelle.siracuse(ci),yale.edu or at 203-432-115 1.
                                                    ,                    ,




   Yale will provide you with a computer. These are standardlE!.ptop and desktop
   configurations that are fully supported on campHs and willb'e upgraded             on
                                                                                   a regular
   schedule. For more details, please refer to: http://w\""'v.yale.cclu/fsp/doco/standarcls.h tml.




                              INITIAL DISCOVERY PROTOCOLS                                                   P710
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Letter to Ms. Susan Byrne from Prof Roberto Gonzalez Echevarria, page 2 of2
February 19, 2008

The appointment as Assistant Professor, as I have indicated, would be for a term of four
years. A description of Yale's ladder faculty ranks, incl ucling expectations and schedules
for reappointment and promotion, information on leave policy, fringe benefits, and other
matters are described Faculty Handbook, which can be foundon the web at
http://www.yale.edu/provost/html/facultyhb.html is of continuing impo11ance to all
faculty members, and because the policies it contains represent essential employment
understanding between you and the University, I urge you to read it with care. If you
decide to join us, you will be asked to keep up with the revisions of it that will be posted
from time to time.

In addition, we have recently modified our policies on appointments and promotion.
These changes can be viewed at: http://w-ww.yale.edu/gateways/fas tenure report.pelf.

Let me know if you have any questions or concerns about the terms of your appointment
as I have described them here.

I want to assure you that my colleagues and I are enthusiastic about the prospects of
having you as our colleague and we are looking forward to your a1Tival to Yale.




cc:     Associate Provost Emily P. Bakemeier




                        INITIAL DISCOVERY PROTOCOLS                                       P711
